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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                                  FOURTH DIVISION


UNITED STATES OF AMERICA,                                        Criminal No. 06-211(2) MJD/AJB

                              Plaintiff,

v.                                                                                         ORDER

ERIC DION DAVIS,

                              Defendant.


       Jeffrey S. Paulsen, Esq., Assistant United States Attorney, for the plaintiff, United States
       of America;

       Stephen W. Walburg, Esq., for the defendant, Eric Dion Davis.


               Based upon the Report and Recommendation by United States Magistrate Judge

Arthur J. Boylan dated August 15, 2006, with all the files and records, and no objections having

been filed to said Recommendation, IT IS HEREBY ORDERED that defendant Eric Dion

Davis’ Motion to Suppress Evidence Obtained as a Result of Search and Seizure and Unlawful

Arrest is denied [Docket No. 44].


Dated: September 8, 2006

                                                     s/ Michael J. Davis
                                                     Michael J. Davis
                                                     United States District Court Judge
